
USCA1 Opinion

	




       No. 96-2197
                           THE SAENGER ORGANIZATION, INC.,
                                Plaintiff, Appellee,
                                         v.
                  NATIONWIDE INSURANCE LICENSING ASSOCIATES, INC.,
                COMMONWEALTH LICENSING GROUP, AND LAWRENCE R. DURKIN,
                               Defendants, Appellants.
                                ____________________
                    APPEAL FROM THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS
                    [Hon. Nancy C. Gertner, U.S. District Judge]
                                ____________________
                                       Before
                                Selya, Circuit Judge,
                            Bownes, Senior Circuit Judge,
                              and Stahl, Circuit Judge.
                                ____________________
            Ernest  B. Murphy with whom  Murphy &amp; O'Connell was  on brief for
       appellants.
            David 
                 J. 
                    Byer 
                        with 
                             whom Testa, Hurwitz &amp; Thibeault, LLP, Stephen J.
       Kenney, and Kenney &amp; Maciolek, were on brief for appellee.
                                ____________________
                                    July 18, 1997
                                ____________________

                      STAHL, Circuit Judge.  This copyright  infringement
            case 
                revolves around a dispute over who owns the copyrights in
            insurance licensing  texts and manuals  that were created  in
            1986. 
                  
                  It 
                     comes 
                          to 
                             us 
                                on 
                                   appeal from the district court's grant
            of 
              summary 
                      judgment 
                              in 
                                 favor of plaintiff-appellee, The Saenger
            Organization,  Inc.  ("Saenger"),  and  against   defendants-
            appellants Lawrence R. Durkin, Nationwide Insurance Licensing
            Associates,   Inc.,   and   Commonwealth   Licensing    Group
            (collectively 
                         "Durkin"). 
                                    Durkin argues that the district court
            improperly 
                      found 
                            that 
                                no 
                                   genuine issue of material fact existed
            as to Saenger's ownership of valid copyrights in the  manuals
            and 
               Durkin's 
                        infringement of them.  Thus, Durkin contends that
            the 
               district 
                        court wrongly concluded that Saenger was entitled
            to judgment in its favor as a matter of law.  Durkin  further
            argues 
                  that 
                       the district court incorrectly determined that the
            applicable Massachusetts statutes  of limitations and  frauds
            barred his state  law counterclaims against Saenger  alleging
            fraud, breach of agreement, and unfair and deceptive business
            practices. 
                       
                       For 
                          the 
                              reasons that follow, we affirm the district
            court's rulings.
                                 Standard of Review
                      We exercise plenary, de  novo review of a  district
            court's 
                   entry 
                         of 
                           summary 
                                   judgment.  See Ortiz-Pinero v. Rivera-
            Arroyo, 84 F.3d 7, 11  (1st Cir. 1996).  Summary judgment  is
            appropriate 
                       where there are no genuine disputes as to material
                                         -2-
                                          2

            facts 
                 and 
                     the moving party is entitled to judgment as a matter
            of law.   See Fed.  R. Civ. P. 56(c).   We review the  record
            evidence in the light most favorable to the non-moving party,
            and thus draw all  reasonable inferences and resolve  factual
            disputes in favor of the party against whom summary  judgment
            has 
               been 
                    entered, 
                            in 
                               this case, the defendants-appellants.  See
            Den Norske Bank v. First Nat'l Bank of Boston, 75 F.3d 49, 53
            (1st Cir. 1996).
                          Background and Prior Proceedings
                      The 
                         Saenger 
                                 Organization has been in the business of
            publishing insurance licensing texts and manuals since  1986.
            Durkin worked for Saenger from 1986 until 1992, during  which
            time he was an officer and vice president of the corporation.
            Since 1993,  Durkin,  now the  principal of  both  Nationwide
            Insurance  Licensing Associates  and  Commonwealth  Licensing
            Group, has been independently  in the business of  publishing
            insurance licensing texts and manuals.
                      According to Durkin, he and Saenger reached an oral
            agreement in April 1986 as  to work that Durkin would do  for
            Saenger.   Saenger disputes  the existence  of any  unwritten
            agreement, but concedes that we must view the record evidence
            in the  light most favorable to  Durkin for purposes of  this
            appeal and the  underlying motion.  According to Durkin,  the
            work responsibilities  he undertook  in the  April 1986  oral
            agreement included the development of a property and casualty
                                         -3-

            insurance 
                     licensing 
                              manual, a life and health insurance manual,
            and several state law supplements.  Durkin maintains that the
            alleged oral agreement contained the following terms:  Durkin
            was to begin immediately to develop, update, and expand these
            manuals and supplements for Saenger, which would market them;
            he  would become  Saenger's vice  president immediately  upon
            completion of an  existing employment  commitment to  another
            firm; 
                 he 
                    and 
                        Saenger would be co-authors of the materials that
            Durkin would write  and co-owners of the copyrights in  those
            materials; and, he would be paid a base salary of $42,000 per
            annum plus 50 percent of the net revenues of the materials he
            worked 
                  on, 
                      with 
                          the 
                              computation and sharing of such net revenue
            to 
              begin 
                    in 
                      June 
                           1987 
                                and to continue in each succeeding fiscal
            year.  Durkin  promptly began to  work part-time (nights  and
            weekends) on the manuals --  as he and Saenger had agreed  --
            even though  he was  still employed  by Educational  Training
            Systems ("ETS").  Durkin and Saenger continued with this work
            arrangement for several months until Durkin assumed full-time
            work duties at Saenger's offices in July 1986.
                      Two of the  insurance licensing  texts that  Durkin
            worked on during his  relationship with Saenger were  manuals
            that 
                came 
                     to 
                       be 
                          titled 
                                 Li
                                   fe, Accident and Health Licensing Text
            and Property/Casualty Licensing Text (hereinafter "Life"  and
            "Property" respectively).   Durkin claims  he authored  these
            works in their entirety,  while Saenger contends that  Durkin
                                         -4-
                                          4

            merely expanded  and  updated  previously  developed  Saenger
            manuals. 
                     
                     In 
                        any event, on or about November 26, 1986, Saenger
            submitted 
                     an 
                       application 
                                   for copyright registration, a Form TX,
            for Property with the United States Copyright Office.   About
            two days later, Saenger  submitted a similar application  for
            Life.1  
                      The 
                         Property
                                  
                                  application listed July 16, 1986 as the
            work's first date of publication and indicated that it was  a
            "work  made for  hire" by  the work's  co-authors, which  the
            application  listed  as   Bruce  W.   Saenger  (The   Saenger
            Organization's  principal)  and  Lawrence  R.  Durkin.    The
            application indicated that  The Saenger Organization was  the
            hiring party  for whom  the work was  made and  was the  sole
            claimant  of copyright  protection.    The  Copyright  Office
            responded to the application with a letter dated January  23,
            1987, 
                 notifying 
                          Saenger 
                                  that "[i]f an individual contributes to
            or creates a work in his or her capacity as either an officer
            or  employee  of  a company  or  organization,  the  work  is
            considered a 'work made for hire' and the employer should  be
            named as the author rather than the individual."  In response
            to this  letter,  Saenger completed  and submitted  a  second
            application for the same work, i.e., Property, again  listing
            The Saenger Organization as the sole copyright claimant,  but
            1.  Durkin claims that the Property application, while
            submitted to the Copyright Office in November 1986, was
            filled out in his presence on or about July 16, 1986.
                                         -5-
                                          5

            this time also listing it alone as the work's author.  On the
            basis of this second application, which the Copyright  Office
            received on  February 24, 1987,  the Copyright Office  issued
            Saenger 
                   a 
                     copyright 
                              for 
                                  P
                                   roperty (registration number TX 2-011-
            625), which listed November 26, 1986 as the effective date of
            registration.
                      Like the  initial Property  application, the  first
            application that Saenger submitted  for Life listed Bruce  W.
            Saenger and  Lawrence R. Durkin as  the authors of the  work,
            indicated that it was a "work made for hire," and stated that
            The  Saenger Organization,  the copyright  claimant, was  the
            hiring 
                  party 
                        for whom the work had been made.   Interestingly,
            the Copyright Office responded  to this application prior  to
            responding to the earlier Property application.  By a  letter
            dated 
                 December 24, 1986, the Copyright Office notified Saenger
            that "[w]here  a work  is 'made  for hire,'  the employer  is
            considered  the author  and  should  be [so]  named  [on  the
            copyright application.]"  In response to this letter, Saenger
            completed 
                     and 
                        submitted 
                                  a second application for the same work,
            i.e., 
                 Life
                     , 
                      this 
                           time 
                                listing The Saenger Organization alone as
            the work's author.  On the basis of this second  application,
            which the Copyright Office received on January 16, 1987,  the
            Copyright  Office  issued   Saenger  a  copyright  for   Life
            (registration number TX 1-983-136), which listed November 28,
            1986 as the effective date of registration.
                                         -6-
                                          6

                      During the period  of time when these  applications
            were pending, Durkin  asked Saenger  about the  applications'
            status. 
                    
                    Some time after the Copyright Office sent Saenger the
            copyright registrations for Property and Life (the record  is
            not clear precisely when),  Saenger informed Durkin that  the
            copyrights had "come in from the Office."  Durkin did not ask
            to see, nor did he see, the copyright registrations or any of
            the 
               applications submitted to the Copyright Office prior to an
            incident which occurred in April 1992.  According to  Durkin,
            while  looking through  some files  in the  clerical area  at
            Saenger,  he  inadvertently   encountered  a  file   entitled
            "COPYRIGHT INFO."   He looked inside the file and  discovered
            copies of the applications  and the letters described  above.
            According to Durkin,  he brought the file to Bruce  Saenger's
            office 
                  and 
                      demanded 
                              an 
                                 explanation for why he was not listed as
            a copyright owner,  demanded his share  of the copyright  and
            copyright revenues, and expressed his view that the copyright
            registrations
                         amounted to a violation of their oral agreement.
            Saenger denies that such a confrontation ever took place. 
                      Prior to leaving Saenger in September 1992,  Durkin
            avers that he had regular and frequent discussions with Bruce
            Saenger 
                   concerning the copyright and revenue issues, something
            Saenger 
                   denies. 
                            
                           Durkin 
                                  states that Saenger repeatedly promised
            him that he would  "get around to" changing the copyright  to
            name  Durkin as a  co-author and co-owner  and would make  an
                                         -7-
                                          7

            accounting for  monies owed Durkin  as a  result of  revenues
            attributable to fiscal years 1989 to 1992.
                      Durkin 
                            admits 
                                   that 
                                       after 
                                             he left Saenger in September
            1992 he copied substantial portions of both Life and Property
            and 
               used 
                    them in his own text, Fundamentals of Life, Accident,
            and  Health  Licensing  Text  (hereinafter   "Fundamentals").
            Saenger 
                   became 
                          aware 
                               of 
                                  Durkin's activities in April 1994.  The
            following 
                     month, Saenger advised Durkin to discontinue copying
            and publishing the  written material in  question, as it  was
            copyrighted  by  Saenger.    Durkin,  however,  persisted  in
            publishing 
                      and distributing the material.  Shortly thereafter,
            Saenger filed suit  in federal district court.  The  district
            court preliminarily enjoined publication and distribution  of
            the Durkin materials and entered summary judgment for Saenger
            on both its copyright infringement claims and Durkin's  state
            law counterclaims.  This appeal ensued.
                          The Copyright Infringement Issue
                      The 
                         plaintiff in a copyright infringement case bears
            the 
               burden 
                      of 
                        proving 
                                "'(1) ownership of a valid copyright, and
            (2) 
               [unauthorized] copying of constituent elements of the work
            that 
                are 
                    original.'"  Lotus Dev. Corp. v. Borland Int'l, Inc.,
            49 F.3d 807, 813 (1st Cir. 1995), aff'd by an equally divided
            court
                , 
                  116 
                      S. Ct. 804 (1996) (quoting Feist Public'ns, Inc. v.
            Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991)); see also CMM
            Cable Rep., Inc. v.  Ocean Coast Props., Inc., 97 F.3d  1504,
                                         -8-
                                          8

            1513 
                (1st 
                     Cir. 
                         1996). 
                                 
                                 Only the first of these two prongs is at
            issue 
                 in 
                    this 
                        case 
                             because Durkin does not deny or dispute that
            he 
              copied 
                     the 
                        pertinent 
                                  material from Property and Life without
            any 
               authorization 
                            from 
                                 Saenger.  Thus, the only issue before us
            is whether  Saenger's copyrights  for Property  and Life  are
            valid.   
                      To show ownership of a valid copyright, a plaintiff
            bears the burden of proving  that the work, when viewed as  a
            whole, 
                  is 
                     original and that he has complied with the requisite
            statutory formalities.   See  Lotus, 49  F.3d at  813.   "'In
            judicial proceedings, a certificate of copyright registration
            constitutes 
                       prima
                            
                            facie
                                  
                                  evidence of copyrightability and shifts
            the 
               burden 
                      to 
                        the 
                            defendant to demonstrate why the copyright is
            not 
               valid.'" 
                         Id. (quoting Bibbero Sys., Inc. v. Colwell Sys.,
            Inc.
               , 
                 893 
                     F.2d 1104, 1106 (9th Cir. 1990)); see also 17 U.S.C.
            S 410(c); CMM Cable, 97 F.3d at 1513. 
                      In  this case,  Saenger succeeded  in shifting  the
            burden regarding the  validity of its copyrights in Life  and
            Property by  producing copyright  registration  certificates.
            Durkin attempted to meet the repositioned burden of proof  by
            arguing  that   Saenger's   copyrights   were   obtained   by
            misrepresentation and are, therefore, invalid.  We, like  the
            district court, do not find this argument persuasive.
                      The  crux  of Durkin's  theory  is  that  the  oral
            agreement 
                     he 
                       allegedly 
                                 entered into with Saenger in April 1986,
                                         -9-
                                          9

            which  Durkin  characterizes  as  a  partnership   agreement,
            undermines the validity of  Saenger's copyrights in Life  and
            Property.  Specifically, Durkin  alleges that he and  Saenger
            orally agreed  in April 1986 that  he was to develop  written
            materials for  Saenger and that he  and Saenger would be  co-
            authors and co-owners of  the copyrights in those  materials,
            including those now  titled Life and Property.  Thus,  Durkin
            argues  that Saenger's  copyrights are  invalid because  they
            violate 
                   the 
                       terms of the April 1986 oral agreement and because
            the copyright applications  that Saenger submitted  contained
            information other than that  which Saenger agreed they  would
            contain as to ownership of the copyrights.  Saenger  contests
            the 
               veracity 
                        of 
                          Durkin's 
                                   various allegations, but concedes that
            they must be assumed to  be correct for the purposes of  this
            appeal.    Even  so,  Durkin's  argument  encounters  several
            difficulties. 
                       The Copyright Act of 1976 provides that  copyright
            protection  generally attaches  to  the person  who  actually
            creates a work.  See 17 U.S.C. S 201(a) ("Copyright in a work
            . . . vests initially in  the author or authors of the  work.
            The authors of a joint work are coowners of copyright in  the
            work."). 
                     
                     "The Act carves out an important exception, however,
            for  'works made  for hire.'"   Community  for Creative  Non-
            Violence
                    
                    v. 
                       R
                        eid, 490 U.S. 730, 737 (1989) [hereinafter CCNV].
            Where "a work [is] made for hire," the Act provides that "the
                                        -10-
                                         10

            employer or  other person for whom  the work was prepared  is
            considered the  author" and  owns the  copyright "unless  the
            parties 
                   have 
                       expressly 
                                 agreed otherwise in a written instrument
            signed by them."  17 U.S.C. S 201(b).
                      As for the  scope of this exception to the  general
            rule regarding copyright ownership, the 1976 Act, in relevant
            part, provides  that a  "work [is] made  for hire"  if it  is
            either:  
                      (1) a  work  prepared by  an  employee
                    within  the   scope   of  his   or   her
                    employment; or 
                      (2)  a   work  specially  ordered   or
                    commissioned  for  use   as  .  .  .   a
                    supplementary work, as a compilation, as
                    an instructional  text,  as a  test,  as
                    answer  material for  a test,  or as  an
                    atlas, if the parties expressly agree in
                    a written instrument signed by them that
                    the work shall be considered a work made
                    for hire. . . .   
          17 U.S.C. S 101.      
                      In 
                        this 
                             case, the parties agree that they did not sign
          a written  instrument  stating  that the  materials  that  Durkin
          prepared for  Saenger would be  considered works  made for  hire.
          Accordingly, Life and Property can be considered "works made  for
          hire" 
               only 
                    if 
                      they 
                           satisfy the requirements of section 101(1), that
          is,  if they  were prepared  by Durkin  within the  scope of  his
          employment with Saenger.  
                      The  Copyright Act  nowhere  defines  the  key  terms
          "employee" or "scope of employment."  See CCNV, 490 U.S. at  739;
          Melville  B. Nimmer  &amp;  David Nimmer,  1  Nimmer on  Copyright  S
                                        -11-
                                         11

          5.03[B][1] at 5-14.2 (1996).  In CCNV, the Supreme Court resolved
          four conflicting judicial interpretations of these terms, see 490
          U.S. at  738-39,   by construing them  to mean the  "conventional
          master-servant relationship  as understood  by common-law  agency
          doctrine." 
                     
                     I
                      d. at 740.  The resulting directive from the Court is
          unambiguous: 
                       
                      "To 
                          determine whether a work is [made] for hire under
          the 
             Act, 
                  a 
                    court first should ascertain, using principles of [the]
          general common law of agency, whether the work was prepared by an
          employee  or  an  independent  contractor.    After  making  this
          determination
                      , the court can apply the appropriate subsection of S
          101."  Id. at 750-51.  The Court provided a nonexhaustive list of
          factors courts should use "[i]n determining whether a hired party
          is an employee under the general  common law of agency."  Id.  at
          751.  This list includes the following:  
                    the 
                       hiring 
                              party's right to control the manner
                    and 
                       means 
                             by 
                                which the product is accomplished
                    . . . . the skill required; the source of the
                    instrumentalities and tools; the location  of
                    the work;  the duration  of the  relationship
                    between the parties; whether the hiring party
                    has 
                       the 
                           right to assign additional projects to
                    the  hired party;  the  extent of  the  hired
                    party's discretion over when and how long  to
                    work; 
                         the 
                             method of payment; the hired party's
                    role in hiring and paying assistants; whether
                    the work is part  of the regular business  of
                    the hiring party; whether the hiring party is
                    in  business;   the  provision  of   employee
                    benefits; and the tax treatment of the  hired
                    party.
          Id. at 751-52 (footnotes omitted) (citing Restatement (Second) of
          Agency S 220(2) (1958)).   The Court completed its discussion  of
                                        -12-
                                         12

          these factors  by cautioning that "[n]o  one of these factors  is
          determinative."  Id. at 752.     
                      Under this standard,  the appellate record  indicates
          that 
              Durkin 
                    cannot 
                           escape the reasonable inference that he prepared
          these texts both while he  was a Saenger employee and within  the
          scope of his employment with Saenger.  The evidence  demonstrates
          that 
              the 
                  overwhelming majority of the agency factors that the CCNV
          Court  highlighted  point  to  the  existence  of  an  employment
          relationship between Durkin and Saenger.  
                      For instance, on Durkin's  version of events, he  and
          Saenger recognized that he had some remaining work obligations to
          another organization, ETS, but agreed in April 1986 that he would
          begin to  work on these  texts immediately.   Specifically,  they
          agreed 
                that 
                     Durkin 
                           would 
                                 work nights and weekends on developing the
          manuals, prior to his being able to assume his full-time position
          as 
            Saenger's 
                      vice president in July 1986.  Thus, a fair reading of
          Durkin's 
                  own 
                     affidavit 
                               indicates that the agreement he reached with
          Saenger 
                 addressed the issues of when and how long he would work on
          the manuals even as to the period of time between April and  July
          1986.  In Durkin's words, "Even though I was employed by  another
          organization at the time [viz., April 1986], Saenger and I agreed
          that 
              I 
                would 
                     develop 
                             these manuscripts . . . in the evenings and on
          weekends."    Under CCNV,  this  feature  of  the  Durkin-Saenger
          agreement  points  towards   the  existence   of  an   employment
          relationship.
                                        -13-
                                         13

                      Furthermore, regardless whether Durkin actually wrote
          the manuals from scratch (as he alleges) or merely contributed to
          them by modifying and expanding pre-existing material (as Saenger
          counters), it is  undisputed that Durkin performed this work  for
          Saenger and at its specific behest.  Despite his arguments to the
          contrary,  Durkin's affidavit  in opposition  to the  preliminary
          injunction indicates that Saenger retained a right to control the
          manner 
                and 
                    means by which the contested works -- Life and Property
          -- 
            were 
                 produced. 
                           
                           This 
                                feature of the Durkin-Saenger relationship,
          too, militates in favor of a finding of employee status.
                      Specifically, Durkin  swears  that, pursuant  to  the
          alleged April 1986 oral agreement, Durkin "would develop" written
          material, Saenger "would process" this material, and Durkin would
          subsequently "edit  and proofread"  the text  prior to  printing.
          Indeed, 
                 the 
                    record 
                           indicates that Saenger's office was an important
          source 
                of 
                  the 
                      instrumentalities, tools, and human resources used in
          producing the works in  question.  According to the affidavit  of
          Nancy Nisil, a  word processing clerk at Saenger, Nisil  received
          handwritten 
                     sheets of paper from Durkin during the months of April
          and 
             May 
                 1986 
                     "on 
                         an 
                            almost daily basis . . . which I converted into
          Property .  . . and Life . .  . which were later to my  knowledge
          published 
                   by 
                      The Saenger Organization." (emphasis added).  Nisil's
          affidavit  is  corroborated  by  that  of  another  Saenger  word
          processing 
                    clerk, Tina Petitt, which relates that she too received
          handwritten sheets of paper from Durkin during April and May 1986
                                        -14-
                                         14

          "on 
             an 
                almost daily basis" that she "converted into Property . . .
          and Life." (emphasis added).  The use of Saenger word  processing
          equipment 
                   and 
                      personnel 
                                in the production of the works in question,
          and 
             the 
                 level 
                      of 
                         Saenger 
                                 control over the means of their production
          that such  use entails, suggests  the existence  of an  employer-
          employee    relationship    between   Saenger   and   Durkin.    
                      The understanding of the parties as to the nature  of
          their  relationship is  also  probative  of the  existence  of  a
          conventional master-servant relationship as understood by  common
          law  agency doctrine.    See  Restatement (Second)  of  Agency  S
          220(2)(i) 
                   (noting 
                          that 
                               "whether or not the parties believe they are
          creating the relation  of master and servant"  is a matter to  be
          considered, among others, in  determining whether one acting  for
          another is a servant or an independent contractor).  While Durkin
          would have us  believe that the April  1986 oral agreement was  a
          partnership agreement, the record evidence fails to  substantiate
          this  theory.  On  the contrary, the  record facts indicate  that
          Durkin  himself  understood the  April  1986  oral  agreement  to
          constitute an agreement regarding his employment with Saenger.
                      Turning 
                             again to his preliminary injunction affidavit,
          Durkin's words on this point are illuminating, albeit not in  the
          way he would  like us  to understand them:   "Even  though I  was
          employed by another organization at the time [viz., April  1986],
          Saenger and I agreed that I would develop these manuscripts . . .
                                        -15-
                                         15

          in the evenings and on weekends." (emphasis added).  Durkin's use
          of 
            the 
                word 
                     "another" is pregnant with meaning in the context that
          confronts us.  The dictionary defines the adjective "another"  as
          "different 
                    or 
                      distinct 
                               from the one first named or considered," and
          as  "being one more in  addition to one or  a number of the  same
          kind."  Webster's Third  New International Dictionary 89  (1986).
          When Durkin  refers to his  employment with another  organization
          (i.e., 
                ETS), 
                      it 
                        would 
                              appear that he understood the April 1986 oral
          agreement to have provided him with a new employment relationship
          with Saenger,  even as to  the period of  time between the  April
          agreement 
                   and his assumption of full-time duties as Saenger's vice
          president 
                   in 
                      July 1986.  Durkin appears to argue that he could not
          have been Saenger's employee from April to July because he was an
          ETS 
             employee 
                      during that period.  Durkin's own affidavit, however,
          demonstrates 
                      that 
                          he 
                             understood the April agreement with Saenger as
          providing him with a part-time job that would entail evening  and
          weekend  work commitments  in  addition to  the  responsibilities
          associated with his other, full-time position with ETS.  Durkin's
          affidavit 
                   further establishes that both he and Saenger agreed that
          this  moonlighting  arrangement   would  continue  until   Durkin
          discharged 
                    his remaining commitment to ETS and thus became able to
          assume 
                full-time 
                         work 
                              responsibilities as Saenger's vice president.
          Importantly, 
                      this 
                          view 
                               of the matter is one to which Durkin himself
          subscribes.   In his  own affidavit as  to economic loss,  Durkin
                                        -16-
                                         16

          describes himself  with the  following  words:   "I am  a  former
          employee of The Saenger Organization." (emphasis added).  
                      Durkin's 
                              own 
                                 apparent 
                                          understanding of his relationship
          with 
              Saenger 
                      thus suggests a finding of employee status.  So, too,
          does the duration of his work relationship with Saenger (some six
          years); 
                 the 
                     method 
                           of 
                              payment used during this six-year period (the
          provision 
                   of 
                     a 
                       time-based, biweekly salary following the completion
          of his  employment  with ETS);  and,  the provision  of  employee
          benefits.  Durkin's tax treatment also points to the existence of
          employee 
                  status.  Durkin had both federal and state taxes withheld
          from 
              his 
                  Saenger paychecks, received W-2 forms for his salary, and
          received 
                  1099 
                      miscellaneous forms for any bonuses that he received.
          Finally, there is no  dispute that Durkin's work for Saenger  was
          part 
              of 
                Saenger's 
                          regular business, a factor that likewise suggests
          the 
             existence of an employment relationship.  The only CCNV factor
          that  works in  Durkin's favor  is the  level of  skill that  was
          presumably 
                    required 
                            to 
                               develop these works, but this does not alter
          the reality that the overwhelming majority of the agency  factors
          highlighted  by the  CCNV  Court point  to  the existence  of  an
          employment relationship between Durkin and Saenger.     
                      On  these undisputed  facts, the  district court  was
          correct 
                 to 
                    conclude 
                            that 
                                 no reasonable juror could find in Durkin's
          favor either that he was not employed by Saenger or that Life and
          Property  were  not prepared  by  him  within the  scope  of  his
                                        -17-
                                         17

          employment with Saenger.  Durkin's arguments to the contrary  are
          unavailing.  
                      First, we cannot agree with Durkin's contention  that
          the 
             April 
                   1986 
                       oral 
                            agreement "essentially moot[s]" the question of
          whether Life and Property fall within the statutory definition of
          works made "for hire."  This view of the matter does not  comport
          with 
              either 
                     17 U.S.C. S 101 or the Supreme Court's ruling in CCNV.
                      Second, even if one  assumes that Durkin and  Saenger
          entered into the April 1986 oral agreement that Durkin describes,
          Durkin's 
                  legal theory that the agreement constituted a partnership
          agreement is unsupported by the record evidence.  While  Durkin's
          affidavit as  to  economic loss  characterizes the  alleged  oral
          agreement as a "partnership agreement" between himself and  Bruce
          Saenger, 
                  on 
                    closer 
                           inspection that conclusory characterization does
          not represent additional record evidence on the matter, but  only
          amounts to Durkin's "spin" on the facts.  
                      Thus, Durkin himself describes the oral agreement  in
          his preliminary injunction affidavit only as one that  delineated
          employment responsibilities and payment  issues.  Nowhere in  the
          record  does Durkin  describe  the  agreement as  one  that  even
          mentioned  the  concept  or   elements  of  partnership.     Most
          significantly, 
                        Durkin's 
                                own description of the April 1986 agreement
          makes no mention of an intent by the alleged principals to form a
          partnership.  See, e.g., Cardullo v. Landau, 105 N.E.2d 843,  845
          (Mass. 
                1952) 
                     (indicating 
                                 that a partnership under Massachusetts law
                                        -18-
                                         18

          is generally held to exist only  where such is the intent of  the
          parties).    On the  contrary,  "[t]he  language  throughout  the
          agreement 
                   was 
                       that 
                           of 
                              employment and not of partnership."  Walsh v.
          Atlantic Research Assocs., 71  N.E.2d 580, 584 (Mass. 1947).   As
          Durkin explains in his affidavit, the agreement provided that  "I
          would come to work for TSO [i.e., Saenger] as a Vice  President."
          (emphasis added).  Especially where it is undisputed that  Durkin
          was 
             not 
                 a 
                   co-owner with Bruce Saenger of The Saenger Organization,
          we cannot agree that a finder of fact could reasonably infer from
          this manifestation of intent that the parties intended to form  a
          partnership 
                     relationship.  See, e.g., Shain Inv. Co. v. Cohen, 443
          N.E.2d 126, 129 (Mass. App. Ct. 1982) (indicating that members of
          a partnership  are co-owners of  a business, not  just of a  work
          product, thereby distinguishing  them from  individuals in  other
          kinds of joint enterprises).
                      The 
                         core 
                              of 
                                 Durkin's partnership argument would appear
          to be his contention that Saenger was to pay him "[f]or his work"
          in developing and marketing the manuals by providing him with  an
          annual $42,000 salary and an equal share of the net revenues from
          the 
             manuals 
                     he 
                       worked 
                              on.  This net revenue sharing, Durkin argues,
          evidences the  existence  of a  partnership between  himself  and
          Saenger.   But, even  if we assume  the allegation about  revenue
          sharing to be true, such an arrangement about how Durkin would be
          paid  for his  work  would  do little  to  substantiate  Durkin's
          partnership theory because venerable and established law provides
                                        -19-
                                         19

          that one who is only interested in the profits of a business as a
          means for compensation for services rendered (i.e., for his work)
          is  not a  partner,  but rather  someone  akin to  a  contractual
          creditor. 
                    
                    See
                       
                       Phipps
                              
                              v. 
                                 Little, 100 N.E. 615, 615-16 (Mass. 1913);
          Estabrook
                   
                   v. 
                      Woods
                          , 
                            78 
                               N.E. 538, 540 (Mass. 1906) (refusing to find
          a partnership,  despite a profit  sharing arrangement, where  the
          arrangement was essentially compensatory in nature and the  party
          alleging  the existence of  a partnership "had  no right to  take
          control 
                 of 
                    the business . . . or to interfere in the management of
          it," even in the event of non-payment); see also Mass. Gen.  Laws
          ch. 
             108A, 
                   S 
                     7(4)(a)&amp;(b) (providing that "[t]he receipt by a person
          of a share  of the  profits of a  business" is  not "prima  facie
          evidence 
                  that 
                       he 
                         is 
                            a 
                              partner" where "such profits were received in
          payment"  of, among  other  things,  "a debt  by  instalments  or
          otherwise" or "[a]s wages of an employee").
                      Finally, the "partnership distributions" that  Durkin
          alleges  to have  received as  his share  of the  "partnership's"
          revenue 
                 from 
                      the copyrighted works in question were not treated as
          royalties on his 1099 miscellaneous federal income tax forms, and
          were,  in  fact,  treated as  compensation  payments  --  not  as
          partnership distribution income on K-2 forms -- for tax purposes.
          As Saenger correctly points out, "[a]ll other references relating
          to  the so-called  partnership  agreement are  lawyer  argument."
          Without evidence to support it, Durkin's conclusory legal opinion
          that 
              the 
                  oral 
                      agreement 
                                was a partnership agreement cannot serve as
                                        -20-
                                         20

          a 
           basis 
                 for 
                     a reasonable trier of fact to find that the agreement,
          if 
            it 
              existed, 
                       constituted a partnership agreement.  In view of the
          overwhelming factors present in the record favoring a finding  of
          employee status, we do not see  any reason to view this case,  as
          Durkin 
                would 
                      have us, through the rubric of Oddo v. Ries, 743 F.2d
          630 
             (9th 
                  Cir. 1984), a case that deals with the rights of partners
          in copyrights held by their partnership.
                      Therefore, to the extent  that Durkin was the  actual
          author of Life and Property, either in part or in their entirety,
          under  CCNV and  17 U.S.C.  S 101,  these works  fall within  the
          category of  "works  made for  hire."   Under  the  work-for-hire
          doctrine, as the Copyright Office correctly explained to Saenger,
          "[i]f 
               an 
                  individual contributes to or creates a work in his or her
          capacity  as  either an  officer  or  employee of  a  company  or
          organization, 
                       the 
                          work 
                               is considered a 'work made for hire' and the
          employer  .  . .  [is  considered]  the author  rather  than  the
          individual."  This scenario fully pertains here.  
                      As indicated,  where  "a work  [is] made  for  hire,"
          federal copyright law provides that "the employer or other person
          for whom  the work was prepared"  owns the copyright "unless  the
          parties have expressly agreed  otherwise in a written  instrument
          signed 
                by 
                   them." 
                          
                          17 
                             U.S.C. S 201(b) (emphasis added).  In light of
          this  statutory language,  the  fact  that there  is  no  written
          agreement 
                   between 
                          the 
                              parties regarding ownership of the copyrights
          in Life  and Property is  dispositive regarding  the validity  of
                                        -21-
                                         21

          Saenger's copyrights.   Durkin's protestations about the  allege
                                                                          e
                                                                          d
          oral agreement  with Saenger  concerning the  ownership of  thes
          copyrights 
                    is thus entirely beside the point.  On these facts, and
          given that Durkin conceded that he copied material from Life  and
          Property without  Saenger's  authorization,  the  district  court
          correctly 
                   concluded 
                            that 
                                 Saenger was entitled as a matter of law to
          judgment in its favor  on its copyright infringement claim.   See
          Feist
              , 
                499 
                    U.S. at 361; CMM Cable, 97 F.3d at 1513; Lotus, 49 F.3d
          at 813.
                             The State Law Counterclaims
                      After Saenger brought its copyright infringement suit
          in federal  court, Durkin filed  state law counterclaims  against
          Saenger alleging  breach  of  agreement, fraud,  and  unfair  and
          deceptive 
                   business practices (the latter under Mass. Gen. Laws ch.
          93A) 
              on 
                 the 
                     ground that Saenger wrongfully obtained its copyrights
          in 
            Life
                 
                 and 
                     Property
                             
                             by 
                                misrepresenting itself as the author of the
          works, and  thereafter failed  to  pay Durkin  his share  of  the
          revenues 
                  from those works, pursuant to the alleged April 1986 oral
          agreement. 
                     
                     The 
                        district 
                                 court entered summary judgment for Saenger
          on  these  claims on  the  basis that  they  were barred  by  the
          Massachusetts 
                       statute 
                              of 
                                 limitations and statute of frauds.  Durkin
          appeals these determinations.   For the  reasons that follow,  we
          agree with the result reached by the district court.2
            2.  While the Copyright Act expressly preempts all causes of
            action that fall within its scope, with a few narrowly drawn
            exceptions, see 17 U.S.C. S 301; Data Gen. Corp. v. Grumman
                                        -22-
                                         22

                      We  begin  by  noting that  a  six  year  statute  of
          li                                                              t
                    See Mass. Gen. Laws ch. 260, S 2.  A  shorter four year
          statute pertains  to  chapter  93A actions  claiming  unfair  and
          deceptive business practices, see Mass. Gen. Laws ch. 260, S  5A,
          while 
               an 
                  even 
                      shorter 
                              three year statute of limitations pertains to
          causes of action alleging fraud.  See Mass. Gen. Laws ch. 260,  S
          2A.  
                      Under  Massachusetts law,  an  action for  breach  of
          contract
            mitations  applies in  Massachusetts  for  breach  of  contrac
          actions.  generally  accrues  at  the  time  of  breach,  thereby
          triggering the statute of limitations for purposes of determining
            Sys. Support Corp., 36 F.3d 1147, 1164-65 (1st Cir. 1994),
            and while the district court's preliminary injunction ruling
            referred to this fact, see Saenger Org., Inc., v. Nationwide
            Ins. Licensing Assocs., Inc., 864 F. Supp. 246, 250 n.4 (D.
            Mass. 1994), the preemption issue was not briefed or argued
            on appeal.  We need not reach the question of whether
            Durkin's state law theories of recovery -- all of which in
            some manner address themselves to the question of who owns
            the copyrights in Life and Property -- are equivalent to
            protections afforded by federal copyright law, and are thus
            preempted, because our analysis today indicates that Durkin's
            asserted state claims are not viable in any event.  The issue
            is not purely academic, however, and we note that at least
            one federal court that has addressed a similar situation has
            found preemption.  See Miller v. CP Chemicals, Inc., 808 F.
            Supp. 1238, 1246 (D.S.C. 1992) ("The Copyright Act affords a
            presumption to the employer, under the work for hire
            doctrine, that the employer shall receive the copyright, and
            that such presumption will not be rebutted except by a
            writing signed by the employer.  If the employee can bring a
            lawsuit under state law based upon an alleged oral promise,
            then the presumptions created under the Copyright Act would
            be substantially, if not, totally undermined.  The court
            finds that the plaintiff's breach of employment contract is
            an artful restructuring of the copyright claim and is,
            therefore, preempted.").       
                                        -23-
                                         23

          whether 
                 a 
                   claim 
                        is 
                           time-barred.  See International Mobiles Corp. v.
          Corroon 
                 &amp; 
                  Black/Fairfield &amp; Ellis, Inc., 560 N.E.2d 122, 126 (Mass.
          App.  Ct.  1990)  (citing  Campanella  &amp;  Cardi  Constr.  Co.  v.
          Commonwealth, 217 N.E.2d 925 (Mass. 1966) and Boston Tow Boat Co.
          v. Medford  Nat'l Bank,  121 N.E.  491 (Mass.  1919)).   Durkin's
          counterclaim  regarding Saenger's  breach  of  the  alleged  oral
          agreement 
                   would 
                        be 
                           time-barred under this standard rule inasmuch as
          the 
             breach, 
                     on Durkin's version of events, occurred either in July
          1986,  when Saenger  improperly completed  the initial  copyright
          applications,  or  November  1986,  when  Saenger  submitted  the
          applications  to the  Copyright  Office and  thus  "fraudulently"
          secured copyright registrations dated effective as of that  month
          and 
             date. 
                    
                    Se
                      e 17 U.S.C. S 410(d) (governing the effective date of
          a 
           copyright 
                     registration).  On either contingency, Durkin's breach
          of 
            contract 
                     claim, 
                           his 
                               chapter 93A action, and his vaguely asserted
          fraud cause of action would be time-barred because they were  not
          filed until August 1994,  thereby falling outside the  respective
          six, four, and three year limitations periods.
                      Durkin concedes as much and urges us, as he urged the
          district court,  to  accept  his theory  that  the  Massachusetts
          "discovery 
                    rule" applies to his situation.  The discovery rule can
          operate to  delay the  accrual of a  cause of  action because  it
          provides that "[a] cause of action will accrue when the plaintiff
          actually 
                  knows of the cause of action or when the plaintiff should
          have 
              known 
                    of the cause of action."  Riley v. Presnell, 565 N.E.2d
                                        -24-
                                         24

          780, 785 (Mass. 1991)  (emphasis added).  Durkin argues that  the
          district  court wrongly  granted  summary  judgment  for  Saenger
          because, as a matter of Massachusetts law, he was entitled to  an
          opportunity 
                     to 
                       persuade 
                                a jury that he actually knew or should have
          known 
               of 
                  Saenger's allegedly wrongful conduct on a date that would
          make  his  August  1994  filing  timely  under  the  statute   of
          limitations.  In support of this contention, Durkin quotes  Riley
          for 
             the 
                 proposition 
                            that 
                                 "where, as here, the plaintiff has claimed
          a trial by jury, any  disputed issues relative to the statute  of
          limitations ought to be decided by the jury."  Id. at 787.  
                      Specifically, Durkin's theory is that he did not know
          in actual fact  of Saenger's wrongful  behavior until April  1992
          when,  one day,  he accidentally  came across  the file  labelled
          "COPYRIGHT INFO."   Moreover, Durkin contends  that there was  no
          reason that  he should have known  of Saenger's fraud, breach  of
          agreement, or deceptive and unfair business practices before then
          because  he  reasonably  and  justifiably  relied  on   Saenger's
          representations 
                         regarding
                                  ownership of the copyrights.  On Durkin's
          view of the matter, Saenger was his partner and therefore  Durkin
          had 
             every 
                   reason 
                         to 
                            believe that Saenger would do what he agreed to
          do about  the copyrights  and had no  reason to  believe that  he
          (Saenger) would do otherwise.  
                      Durkin's 
                              theory lacks merit.  "Under the Massachusetts
          discovery  rule, the  running of  the statute  of limitations  is
          delayed 
                 while 'the facts,' as distinguished from the 'legal theory
                                        -25-
                                         25

          for the cause  of action,' remain 'inherently unknowable' to  the
          injured party."  Catrone v. Thoroughbred Racing Ass'n of N.  Am.,
          Inc., 929 F.2d 881, 885 (1st Cir. 1991) (emphasis added) (quoting
          Gore v. Daniel O'Connell's Sons, Inc., 461 N.E.2d 256, 259 (Mass.
          App. 
              Ct. 
                  1984)); see also Williams v. Ely, 668 N.E.2d 799, 804 n.7
          (Mass. 1996) ("Some of our opinions have stated that a  plaintiff
          seeking to show that the statute of limitations did not begin  to
          run 
             must 
                  demonstrate that the claim was 'inherently unknowable,' a
          standard that is  no different from, and is used  interchangeably
          with, 
               the 
                   'knew or should have known' standard.") (emphasis added)
          (construing Riley).   Durkin does not  contend that the facts  he
          discovered 
                    in April 1992 were somehow inherently unknowable to him
          so much as he argues that  they were unknown to him.   Therefore,
          despite his  protestations to  the contrary,  Durkin's state  law
          counterclaims are all time-barred on the basis of the  undisputed
          facts and the  applicable Massachusetts law.  This conclusion  is
          reached no matter how one chooses to view the issue.  
                      First, although there  is some dispute as to when  in
          1986 the  initial  copyright  application was  completed,  it  is
          undisputed that sometime in  1986 Durkin was present in the  room
          when Saenger  drafted the  application which  listed The  Saenger
          Organization alone as the copyright's owner.  Because Durkin  was
          not listed as a co-owner, as Durkin alleges Saenger had agreed he
          would 
               be, 
                   Saenger breached the oral agreement in Durkin's presence
                                        -26-
                                         26

          in 1986.3   If Durkin saw the document at that time, then he  was
          aware of  the breach  and  the statute  of limitations  was  duly
          triggered.   Durkin, however, denies  seeing the application  and
          instead argues that he did not bother to look at it or to examine
          whether the  information contained  therein was  correct or  not.
          Durkin justifies his actions (or rather, inaction) by arguing, in
          essence, that  he felt fully justified  in relying on Saenger,  a
          partner, to do what they had agreed.  As our previous  discussion
          explains, 
                   there 
                         is 
                           no 
                              evidence that Durkin and Saenger entered into
          a partnership agreement, and certainly not in the legal sense  of
          that  term.   Even  if  we  assume such  an  agreement,  Durkin's
          deliberate indifference  to what was  contained in the  copyright
          applications 
                      -- information that was inherently knowable to him --
          cannot serve to toll  the running of the statute of  limitations.
          See El y, 668  N.E.2d at  804 n.7  (describing the  Massachusetts
          standard 
                  for 
                      determining when a plaintiff can avail himself of the
          discovery rule).  
                      Durkin's reliance on Riley is thus misplaced  because
          that case  does not vitiate the  standard rule that a  "nonmoving
          party 
               can 
                   fend off a motion for summary judgment [only] by setting
          forth 
               specific 
                       facts 
                             sufficient to demonstrate that every essential
          element 
                 of 
                    its 
                       claim 
                             or 
                                defense is at least trialworthy."  Catrone,
          929 F.2d  at  884.    That  standard is  not  met  here.    Under
            3.  We primarily analyze the facts against Durkin's contract
            theory of recovery because that cause of action has the most
            generous limitations period (viz., six years).   
                                        -27-
                                         27

          Massachusetts
                       law, "[t]he plaintiff bears the burden of presenting
          facts  sufficient  to  take  the  case  outside  the  statute  of
          limitations."  Id. at 885 (citing Franklin v. Albert, 411  N.E.2d
          458, 
              463 
                  (Mass. 1980)).  Here, there is no trialworthy issue as to
          the statute of limitations question because there is not  "enough
          evidence for a jury to return a verdict for the nonmoving party."
          Id. at 884-85 (citing  Anderson v. Liberty Lobby, Inc., 477  U.S.
          242, 249-50 (1986)).  No reasonable juror could fail to find that
          Durkin should have known the facts underlying his cause of action
          for breach of agreement, or that such facts were knowable to him,
          see
             
             Catrone
                    , 
                     929 
                         F.2d 
                              at 
                                 885; Ely, 668 N.E.2d at 804 n.7; Gore, 461
          N.E.2d 
                at 
                   259, 
                       at 
                          the 
                              time in 1986 that the application was drafted
          in his presence with the prejudicial omission of his name. 
                      Second, it is undisputed that Saenger applied for and
          received 
                  copyright registration certificates for Life and Property
          from  the  Copyright  Office.    Under  federal  copyright   law,
          recordation  of a  document in  the Copyright  Office "gives  all
          persons constructive notice  of the facts stated in the  recorded
          document."    17  U.S.C. S  205(c).    A  copyright  registration
          certificate issued by  and filed with  the Copyright Office  thus
          serves 
                to 
                   put the world on constructive notice as to the ownership
          of the  copyright and  of the  facts stated  in the  registration
          certificate.  In  this way, the  Copyright Act's protections  are
          analogous 
                   to 
                     the 
                         protections that federal law affords patents.  See
          Wise
              
              v. 
                 Hubbard
                       , 
                         769 
                             F.2d 1, 2  (1st Cir. 1985) ("The United States
                                        -28-
                                         28

          Supreme Court has consistently held that the issuance of a patent
          and 
             its 
                 recordation in the Patent Office constitutes notice to the
          world of its existence.") (citing Sontag Chain Stores Co. Ltd. v.
          National Nut  Co. of  Cal., 310 U.S.  281, 295  (1940); Wine  Ry.
          Appliance  Co. v. Enterprise  Ry. Equip. Co.,  297 U.S. 387,  393
          (1936); Sessions  v. Romadka, 145 U.S.  29, 50 (1892); Boyden  v.
          Burke
              , 
                14 
                   How. 
                       (55 
                           U.S.) 
                                 575, 582 (1852)).  On the undisputed facts
          of 
            the 
                case, 
                     therefore, 
                                Durkin had constructive notice of Saenger's
          claim 
               of 
                 exclusive 
                           ownership of the copyrights in Life and Property
          as of November 1986, the effective date of registration for  both
          works.  
                      Third, it is undisputed that all of the manuals  that
          Saenger published, including those at issue in this case,  openly
          displayed a United States copyright notice that announced to  the
          world that Saenger was  the copyright owner.  Inasmuch as  Durkin
          concedes 
                  that 
                       he 
                         worked 
                                on and with these same materials during the
          period  that he  worked at  Saenger (1986-1992),  Durkin must  be
          presumed to have had actual notice that Saenger had breached  the
          terms of the alleged oral agreement more than six years before he
          filed his contract counterclaim in August 1994.  
                      Durkin's argument that  the discovery rule tolls  the
          statutes 
                  of 
                     limitations on his state law counterclaims until April
          1992, 
               when 
                    he stumbled upon the "COPYRIGHT INFO." file at Saenger,
          is 
            thus 
                 unavailing. 
                             
                             Durkin was at best deliberately indifferent as
          to 
            what 
                 was 
                     contained in the copyright applications when they were
                                        -29-
                                         29

          drafted 
                 in 
                    his 
                       presence 
                                and he was constructively, if not actually,
          on notice of Saenger's incompatible claim of exclusive  copyright
          ownership. 
                     
                    Saenger's 
                              alleged fraud, breach, and deceptive business
          practices were  thus knowable  to him  in 1986  had he  exercised
          minimal 
                 and 
                    reasonable 
                               diligence.  By no stretch of the imagination
          were 
              the 
                  facts 
                       of 
                          which 
                                Durkin complains "inherently unknowable" to
          him 
             prior 
                   to 
                     April 
                           1992. 
                                  Catrone, 929 F.2d at 885; Ely, 668 N.E.2d
          at      804     n.7;    Gore ,    461     N.E.2d     at     259. 
                      In view of these undisputed facts and the  applicable
          legal 
               standards, 
                         no 
                            reasonable juror could fail to find that Durkin
          knew or,  through  reasonable  diligence, should  have  known  of
          Saenger's 
                   claim 
                        of 
                           exclusive ownership of the copyright in Life and
          Property more than six years before he filed his counterclaim for
          breach  of agreement, more  than four years  before he filed  his
          chapter 
                 93A 
                     action 
                           for 
                               deceptive and unfair business practices, and
          more 
              than 
                   three years before he filed his cause of action alleging
          fraud. 
                 
                 Therefore, Durkin's counterclaims were extinguished by the
          limitations period as a matter of law.  See Daboub v. Gibbons, 42
          F.3d 
              285, 
                   291 (9th Cir. 1995) (upholding grant of summary judgment
          on ground that state law  causes of action, raised in context  of
          copyright infringement case, were time-barred given what and when
          the plaintiffs actually  knew, or  through reasonable  diligence,
          should have known about allegedly wrongful conduct).
                                        -30-
                                         30

                      Durkin's fallback position is similarly unpersuasive.
          Specifically,  Durkin argues  that  the statutes  of  limitations
          applicable 
                    to his counterclaims should be tolled pursuant to Mass.
          Gen. 
              Laws 
                   ch. 260, S 12 because Saenger fraudulently concealed his
          alleged breach of agreement and deceptive business practices.  We
          need not dwell on this argument.  "Where a fiduciary relationship
          exists, the failure  adequately to disclose the facts that  would
          give 
              rise 
                   to 
                      knowledge of a cause of action . . . is equivalent to
          fraudulent 
                    concealment 
                               for purposes of applying S 12."  Demoulas v.
          Demoulas Super Markets,  Inc., 677 N.E.2d 159, 174 (Mass.  1997).
          Here, 
               however, as we have discussed, there was no partnership, and
          thus 
              no 
                fiduciary 
                          relationship, between Durkin and Saenger.  In the
          absence of a fiduciary relationship, "'the estoppel provision  of
          Mass. 
               Gen. 
                    Laws 
                        Ann. 
                             ch. 
                                 260, S 12 is generally not available where
          the plaintiff  is  capable  of discovering  the  facts  allegedly
          concealed.'"  Wise, 769 F.2d at 4 (quoting Burbridge v. Board  of
          Assessors,  417 N.E.2d  477,  480 (Mass.  App.  Ct. 1981)).    As
          discussed 
                   above, Durkin was fully capable of discovering the facts
          that Saenger allegedly concealed from him through the expenditure
          of but minimal effort.   Finally, nothing in the record  suggests
          fraudulent  concealment.     Saenger   secured  valid   copyright
          registrations and  affixed  copyright  notices to  the  works  in
          question, which Durkin worked on over a period of many years.  As
          Saenger correctly  argues:   "Public notice  is not  concealment.
          Public display is not deception." 
                                        -31-
                                         31

                      Our resolution of  the statute  of limitations  issue
          obviates our  need to consider  the dispute  between the  parties
          regarding 
                   the statute of frauds.  In short, the fact that Durkin's
          counterclaim for  breach  of  contract was  extinguished  by  the
          limitations period essentially moots the question of whether  the
          April 
               1986 
                   oral 
                        agreement could have been enforced despite the fact
          that it was never memorialized in a writing.
                                     Conclusion
                      The 
                         district 
                                 court 
                                       properly found that no genuine issue
          of material  fact  existed as  to  Saenger's ownership  of  valid
          copyrights and Durkin's infringement of them, and thus  correctly
          concluded that Saenger was entitled to judgment in its favor as a
          matter of law.  The district court also correctly determined that
          the applicable Massachusetts statutes of limitations bar Durkin's
          various state law counterclaims against Saenger.  For the reasons
          discussed above, we  therefore ascribe no  error to the  district
          court's rulings.
                      Affirmed.  Costs to appellee.
                                        -32-
                                         32


